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                          UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO

 ROBERT TAYLOR and VERONICA J.
 TAYLOR, husband and wife,                       Case No. 4:14-cv-00079-BLW

                                                 MEMORANDUM DECISION AND
        Plaintiff,                               ORDER

        v.

 NATIONAL UNION FIRE
 INSURANCE COMPANY OF
 PITTSBURGH, PA, a foreign
 corporation, LOTSOLUTIONS, INC., a
 foreign corporation, CHARTIS, INC. a
 foreign corporation, AIG CLAIMS, INC.,
 a foreign corporation, formerly known as
 CHARTIS CLAIMS, INC., WELLS
 FARGO BANK, N.A. a foreign
 corporation, DOES I through X, and
 BUSINESS ENTITIY DOES I through
 X,

        Defendant.



                                    INTRODUCTION

       Before the Court is Defendants’ Motions to Dismiss (Dkt. 11). For the following

reasons, the Court will grant the motion, but with leave to amend.

                                  LEGAL STANDARD

1.     Legal Standard for Rule 12(b)(6) Motions

       Federal Rule of Civil Procedure 8(a)(2) requires only “a short and plain statement

of the claim showing that the pleader is entitled to relief,” in order to “give the defendant


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fair notice of what the . . . claim is and the grounds upon which it rests.” Bell Atlantic

Corp. v. Twombly, 550 U.S. 544, 555, 127 S.Ct. 1955, 1964 (2007). While a complaint

attacked by a Rule 12(b)(6) motion to dismiss “does not need detailed factual

allegations,” it must set forth “more than labels and conclusions, and a formulaic

recitation of the elements of a cause of action will not do.” Id. at 555. To survive a

motion to dismiss, a complaint must contain sufficient factual matter, accepted as true, to

“state a claim to relief that is plausible on its face.” Id. at 570. A claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged. Id. at 556.

The plausibility standard is not akin to a “probability requirement,” but it asks for more

than a sheer possibility that a defendant has acted unlawfully. Id. Where a complaint

pleads facts that are “merely consistent with” a defendant's liability, it “stops short of the

line between possibility and plausibility of ‘entitlement to relief.’ ” Id. at 557.

       The Supreme Court identified two “working principles” that underlie Twombly in

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). First, the court need not accept as true, legal

conclusions that are couched as factual allegations. Id. Rule 8 does not “unlock the

doors of discovery for a plaintiff armed with nothing more than conclusions.” Id. at 678-

79. Second, to survive a motion to dismiss, a complaint must state a plausible claim for

relief. Id. at 679. “Determining whether a complaint states a plausible claim for relief

will . . . be a context-specific task that requires the reviewing court to draw on its judicial

experience and common sense.” Id.



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       A dismissal without leave to amend is improper unless it is beyond doubt that the

complaint “could not be saved by any amendment.” Harris v. Amgen, Inc., 573 F.3d 728,

737 (9th Cir. 2009) (issued 2 months after Iqbal). The Ninth Circuit has held that “in

dismissals for failure to state a claim, a district court should grant leave to amend even if

no request to amend the pleading was made, unless it determines that the pleading could

not possibly be cured by the allegation of other facts.” Cook, Perkiss and Liehe, Inc. v.

Northern California Collection Service, Inc., 911 F.2d 242, 247 (9th Cir. 1990). The

issue is not whether plaintiff will prevail but whether he “is entitled to offer evidence to

support the claims.” Diaz v. Int’l Longshore and Warehouse Union, Local 13, 474 F.3d

1202, 1205 (9th Cir. 2007)(citations omitted).

       Under Rule 12(b)(6), the Court may consider matters that are subject to judicial

notice. Mullis v. United States Bank, 828 F.2d 1385, 1388 (9th Cir. 1987). The Court

may take judicial notice “of the records of state agencies and other undisputed matters of

public record” without transforming the motions to dismiss into motions for summary

judgment. Disabled Rights Action Comm. v. Las Vegas Events, Inc., 375 F.3d 861, 866,

n.1 (9th Cir. 2004). The Court may also examine documents referred to in the complaint,

although not attached thereto, without transforming the motion to dismiss into a motion

for summary judgment. See Knievel v. ESPN, 393 F.3d 1068, 1076 (9th Cir. 2005).




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                                        ANALYSIS

1.     Motion To Dismiss

       Defendants’ argue that Defendant Chartis, Inc. should be dismissed for lack of

personal jurisdiction, and that Defendant AIG Claims, Inc. should be dismissed because

the Amended Complaint contains no specific allegations of wrongdoing against AIG

Claims, Inc. Defendants also ask the Court to dismiss Counts Two, Three and Four of the

Amended Complaint.

       The Taylors agree to the dismissal of Chartis, Inc. Accordingly, the Court will

grant that part of the motion. The Court will address the remaining issues below.

       A.     Claims Against AIG Claims, Inc.

       Based upon the record before the Court, it appears AIG Claims, Inc. is a successor

in interest to Chartis Claims, Inc. However, the Amended Complaint (Dkt. 10) does not

direct any allegations toward either AIG Claims, Inc. or Chartis Claims, Inc. The

Amended Complaint does, however, repeatedly reference the now dismissed Defendant,

Chartis, Inc. Although it is not altogether clear, it appears the Taylors allegations against

Chartis, Inc. were meant to be directed toward AIG Claims, Inc. The Court will not

simply reach that conclusion based upon the pending Amended Complaint, however.

Accordingly, the Court will grant the motion to dismiss all claims against AIG Claims,

Inc, but will give the Taylors leave to amend their complaint so they can clarify whether

they meant to assert claims against AIG, Claims, Inc. The amended complaint must




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specifically direct claims at AIG, Claims, Inc. or the Court will dismiss AIG, Claims, Inc.

as a defendant with prejudice.

       B.     Count Two – Bad Faith

       To recover on a bad faith claim, the “insured must show: (1) the insurer

intentionally and unreasonably denied or delayed payment; (2) the claim was not fairly

debatable; (3) the denial or delay of payment was not the result of a good faith mistake;

and (4) the resulting harm is not fully compensable by contract damages.” Simper v.

Farm Bureau Mut. Ins. Co. of Idaho, 974 P.2d 1100, 1103 (Idaho 1999) (citing White v.

Unigard Mutual Insurance Co., 730 P.2d 1014, 1018–20 (Idaho 1986)).

       While the Taylors’ Amended Complaint indicates that their claims were denied

(Am. Compl. Dkt. 10 ¶ 25), nothing in the Amended Complaint is stated with enough

specificity to show whether or not the claim was debatable. Defendants cannot argue a

good faith mistake because no claims are specific enough to know which actions might

reflect which claim. Furthermore, the Amended Complaint simply states that

“Defendants’ failure to act in good faith proximately caused Plaintiffs to suffer

damages.” Id. ¶ 40. This allegation gives no insight into whether resulting harm is fully

compensable by contract damages.

       Accordingly, the Court will grant the motion to dismiss Count Two, but will give

the Taylors leave to amend. In their amended complaint, the Taylors must provide factual

content which allows the defendants and the Court to draw the reasonable inference that a

defendant is liable for the misconduct alleged. Twombly, 550 U.S. at 556.



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       C.     Count Three – Fraud

       To prove fraud, a plaintiff must establish the following elements: “(1) a

representation; (2) its falsity; (3) its materiality; (4) the speaker's knowledge about its

falsity or ignorance of its truth; (5) his intent that it should be acted upon by the person

and in the manner reasonably contemplated; (6) the hearer's ignorance of its falsity; (7)

his reliance on the [representation]; (8) his rights to rely thereon; (9) his consequent and

proximate injury.” Jenkins v. Boise Cascade Corp., 108 P.3d 380, 386 (Idaho 2005)

(internal citation omitted). Moreover, these elements must be pled with particularity. That

is, a party claiming fraud or mistake is required to go beyond the minimalist requirements

of Rule 8(a)(2), and must state “with particularity the circumstances constituting fraud or

mistake.” Fed .R.Civ.P. 9(b).

       It is well-established that “[a] pleading is sufficient under Rule 9(b) if it identifies

the circumstances constituting fraud so that a defendant can prepare an adequate answer

from the allegations.” Moore v. Kayport Package Express, Inc., 885 F.2d 531, 540 (9th

Cir.1989). In this regard, it is sufficient to plead items such as the time, place and nature

of the alleged fraudulent activities. Id. Additionally, “Rule 9(b) does not allow a

complaint to merely lump multiple defendants together but require[s] plaintiffs to

differentiate their allegations when suing more than one defendant ... and inform each

defendant separately of the allegations surrounding his alleged participation in the fraud.”

Swartz v. KPMG LLP, 476 F.3d 756, 764–65 (9th Cir.2007). Finally, “[i]n the context of

a fraud suit involving multiple defendants, a plaintiff must, at a minimum, ‘identif[y] the



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role of [each] defendant[ ] in the alleged fraudulent scheme.’ ” Id. at 765 (citing Moore,

885 F.2d at 541).

                 1) Fraud

       The Amended Complaint sets out a premise that each successive policy was

accompanied by cumulative coverage. Dkt. 10 ¶ 43. The Taylors claim that this

constitutes fraud because they were denied coverage, and those denials were improper.

Id. These conclusions are consistent with a claim which may be fraudulent. But, the

Taylors fail to provide sufficient facts which connect and support these allegations. The

Taylors fail to provide facts which explain why claim denials were improper. They fail to

provide facts which explain how the denied claims should have been covered under

successive policies and cumulative coverage. It is not enough to say coverage increased.

Only cumulative coverage which is related to improperly denied claims would be

relevant here.

       Thus, the Taylors have not pled fraud with particularity, and the Court will grant

the motion to dismiss the fraud claim in Count Three. However, the Court will once again

give the Taylors leave to amend. In their amended complaint, the Taylors must address

the issues discussed in the preceding paragraph.

                 2) Silence as Fraud

       According to the Idaho Supreme Court, silence may constitute fraud when a duty

to disclose exists. G & M Farms v. Funk Irrigation Co., 808 P.2d 851 (1991). A party

may have a duty to disclose: (1) if there is a fiduciary or other similar relation of trust and



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confidence between the two parties; (2) in order to prevent a partial statement of the facts

from being misleading; or (3) if a fact known by one party and not the other is so vital

that if the mistake were mutual the contract would be voidable, and the party knowing the

fact also knows that the other does not know it. Sowards v. Rathbun, 8 P.3d 1245, 1250

(2000).

       The Taylors claim that “Defendants failed to disclose limitations contained in the

policies at the time of sale. These actions constitute fraud and fraud by silence.” Am.

Compl. Dkt. 10 ¶ 45. The Amended Complaint fails to establish a duty to disclose. The

Taylors silence as fraud claim also suffers from a lack of particularity similar to their

fraud claim. The Taylors fail to provide facts that explain which limitations in their

policy were not disclosed, and how those failures are relevant to their denied claims.

Simply concluding that Defendants failed to disclose limitations is inadequate for a

silence as fraud claim. Therefore, the Court will grant the motion to dismiss the silence as

fraud claim on Count Three as well. Once again, the Taylors will be given leave to

amend.

       D.     Count Four – Intentional Infliction of Emotional Distress

       “To prevail on a claim for intentional infliction of emotional distress: (1) the

conduct must be intentional or reckless; (2) the conduct must be extreme and outrageous;

(3) there must be a causal connection between the wrongful conduct and the emotional

distress; and (4) the emotional distress must be severe.” Mortensen v. Stewart Title Guar.

Co., 149 Idaho 437, 235 P.3d 387, 396 (Idaho 2010) (internal citations omitted). “To be



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actionable, the conduct must be so extreme as to ‘arouse an average member of the

community to resentment against the defendant,’ and ‘must be more than unreasonable,

unkind, or unfair.’ ” Id. at 397 (citing 86 CJ. S. Torts § 74 (2009) (citations omitted)).

       The Taylors allege that a duty to act fairly and in good faith, along with the facts

of the case, make Defendants refusal to pay Plaintiffs’ legitimate claims extreme and

outrageous. Am. Compl. ¶ 48. However, no facts have been sufficiently pled here. No

facts have been presented which support a conclusion that any of these claims were

legitimate. The Taylors also fail to provide any facts showing that there was emotional

distress, that it was sever, and that Defendants caused it. The Taylors simply make

conclusory statements that they suffered emotional distress and that it was the result of

Defendant’s extreme and outrageous conduct. Id. ¶ 50.

       Accordingly, the Court will grant Defendants’ motion to dismiss Count Four.

However, the Court will once again grant leave to amend. In their amended complaint,

the Taylors must address the issues noted by the Court in the preceding paragraph.

                                          ORDER

       IT IS ORDERED:

       1. Defendant’s Motion to Dismiss (Dkt. 11) is GRANTED with leave to amend

          as explained above. Plaintiffs shall file their amended complaint within 21 days

          of the date of this Order.




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                                        DATED: November 7, 2014


                                        _________________________
                                        B. Lynn Winmill
                                        Chief Judge
                                        United States District Court




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